           Case 1:19-cv-00461-AWI-GSA Document 110 Filed 04/07/23 Page 1 of 2



 1

 2

 3

 4

 5

 6

 7

 8                             UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10

11   JERRY DILLINGHAM,                              1:19-cv-00461-AWI-GSA-PC
12                Plaintiff,                        ORDER ADOPTING FINDINGS AND
                                                    RECOMMENDATIONS IN FULL
13         vs.
                                                    (ECF No. 105.)
14   J. GARCIA, et al.,
                                                    ORDER DISMISSING CASE WITH
15                Defendants.                       PREJUDICE FOR FAILURE TO
16
                                                    COMPLY WITH COURT ORDER AND
                                                    FAILURE TO PROSECUTE
17
                                                    (ECF No. 101.)
18
                                                    ORDER FOR CLERK TO CLOSE CASE
19

20

21

22          Jerry Dillingham (“Plaintiff”) is a former state prisoner proceeding pro se and in forma
23   pauperis with this civil rights action pursuant to 42 U.S.C. § 1983. The matter was referred to a
24   United States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.
25          On January 25, 2023, findings and recommendations were issued, recommending that
26   this case be dismissed, with prejudice, for Plaintiff’s failure to comply with the Court’s order
27   issued on January 9, 2023 and for failure to prosecute. (ECF No. 105.) On February 3, 2023,
28   Plaintiff filed objections to the findings and recommendations. (ECF No. 106.)

                                                    1
           Case 1:19-cv-00461-AWI-GSA Document 110 Filed 04/07/23 Page 2 of 2



 1          In accordance with the provisions of 28 U.S.C. § 636 (b)(1)(B) and Local Rule 304, this
 2   court has conducted a de novo review of this case. Having carefully reviewed the entire file, the
 3   court finds the findings and recommendations to be supported by the record and proper analysis.
 4          Accordingly, IT IS HEREBY ORDERED that:
 5          1.      The findings and recommendations issued on January 25, 2023, are adopted in
 6                  full;
 7          2.      This case is dismissed, with prejudice, based on Plaintiff’s failure to obey the
 8                  Court’s order issued on January 9, 2023, and failure to prosecute; and
 9          3.      The Clerk is directed to close this case.
10
     IT IS SO ORDERED.
11

12   Dated: April 7, 2023
                                                  SENIOR DISTRICT JUDGE
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                     2
